Case 2:02-cr-20484-.]DB Document 143 Filed 06/03/05 Page 1 of 3 Page|D 162

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UNITED STATES OF AMERICA ) W.D. C}F TN. m» EMPHIS
Plaintiff, l
VS § CR. NO. 02-20484-02-B
RODNEY DAVIS, §
Defendant. ))
ORDER TO SURRENI)ER

 

The defendant, Rodney Davis, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Texarkana,
(P.O. Box 9500), 4001 Leopard Drive, Texarkana, 'I`X 75505 by 2:00 p.m. on THURSDAY,
JUNE 30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant Will report as ordered to the facility named above.

ENTERED this the 'L~%ay ar luna 2005 DM…

@NIEL BREEN \
@ED STATES DISTRICT JUDGE

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T'ois document entered on the docket S'nee ignorance

   

Case 2:02-cr-20484-.]DB Document 143 Filed 06/03/05 Page 2 of 3 Page|D 163

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if l fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 143 in
case 2:02-CR-20484 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listedl

 

HoWard Brett Manis
BOROD & KRAMER
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Ste. G-l

l\/lemphis7 TN 38103

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

